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                                      UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF NEW JERSEY


In re:                                                 Chapter 13

LINDA RODRIGUEZ,                                       Case No. 19-19288 (MBK)

                         Debtor.


LINDA RODRIGUEZ,                                       Adv. Pro. No. 23-1212 (MBK)

                         Plaintiff,

v.

PHH MORTGAGE CORPORATION,

                         Defendant.


                                         MEDIATION REPORT

         By Order entered October 16, 2023, this matter was referred to mediation.

         1.      A settlement of this matter:

                     was reached                   was not reached

         2.      The party designated to file the settlement document(s) is: N/A

         3.      Resolution of Adversary Proceeding:

                  All outstanding issues have been resolved and the case may be closed in the normal
                     course.

                     There are issues that have not been resolved and the case shall remain open.

                     The matter addressed by mediation does not apply to an adversary proceeding.




Dated: January 11, 2024                                                /s/ Sam Della Fera, Jr.
                                                                          Sam Della Fera, Jr.


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